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A091 (Rev. 8/01) Criminal Complaint
~ David J. Bradley, Clerk of Court

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

UNITED STATES OF AMERICA
Vs. CRIMINAL COMPLAINT

Sixto Gonzalez Jr.
Case Number: d ‘ \Q M\ \Q O03

Elizabeth Cantu

|, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about May 9, 2019 in Kenedy County, in the
(Date)
Southern District of Texas defendant, Sixto Gonzalez Jr.
Elizabeth Cantu

each aiding, abetting and assisting one another, did knowingly or in a reckless disregard of the fact that an alien had
come to, entered, or remained in the United States in violation of law, transport, or move or attempt to transport or

move such alien within the United States by means of transportation or otherwise, in furtherance of such violation of
law

in violation of Title 8 United States Code, Section(s) 1324

| further state that | am a(n) Border Patrol Agent and that this complaint is based on the
Official Title

following facts:

See Attached Affidavit of U.S. Border Patrol Agent Aubrey Ward

Continued on the attached sheet and made a part of this complaint: [x ]yes [_ ]no

Signature of Complainant
Submitted by reliable electronic means, sworn fo, signature Aubrey Ward
attested telephonically per Fed.R.Crim.P.4.1, and probable cause Printed Name of Complainant
found on the:

May 9, 2019 at Corpus Christi, Texas
Date City and State

B. Janice Ellington U.S. Magistrate Judge
Name and Title of Judicial Officer

Signature of cial Officer

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AFFIDAVIT

The information contained in this report/affidavit is based upon my personal participation in the
investigation, which included, but is not limited to information relayed to me by other agents and
officers participating in the investigation.

FACTS/DETAILS:

On May 9, 2019 at approximately 12:20 a.m., Border Patrol Agents performed immigration
inspection duties at the Javier Vega Jr. Border Patrol Checkpoint near Sarita, Texas. There were
two subjects who approached the primary lane driving a black 2008 Chevrolet Malibu, the
driver, later identified as Sixto Gonzalez Jr., and the passenger, later identified as Elizabeth
Cantu. Agents questioned the driver as to where he was going to and he replied “to Pasadena,
Texas to work.” After establishing citizenship and during questioning from the primary agent,
the assigned canine handler alerted the primary agent during a non-intrusive free air sniff his
canine partner had alerted to the trunk. The agent asked the driver for consent to search the trunk,
and it was granted. The canine handler encountered one subject hiding under a blanket in the
trunk after the trunk was opened. All occupants were placed under arrest and escorted into the
checkpoint for processing. It was determined that the subject hiding in the trunk was an illegal
alien from Honduras present in the United States without valid immigration documents.

MIRANDA RIGHTS WARNING:

All of the subjects were provided their Miranda Rights in the language of their preference. All
involved subjects signed stating that they understood their rights and were willing to make a
Statement.

PRINCIPAL STATEMENT (GONZALEZ Jr., Sixto):

Gonzalez stated that he agreed to knowingly smuggle an illegal alien through the checkpoint for
monetary gain. He stated he needed the money and was willing to smuggle. He knew the
involved subject was illegally present in the United States. When specific questions were asked
about the arrangements of the smuggling attempt he invoked his right to legal counsel for further
questioning,

CO-PRINCIPAL STATEMENT (CANTHU, Elizabeth):

Cantu states she and her boyfriend, Gonzalez, drove down to Pharr, Texas from Pasadena, Texas
to visit her mother-in-law for about one month. She states they came from the island area where
his aunt lives. She was unaware of how the illegal alien got in the trunk. She was also oblivious
if they were driving the same vehicle or if they switched out to a different one.

CANTU initially claimed she was pregnant during processing, but later recanted and said she is
not pregnant.

MATERIAL WITNESS STATEMENT (ZEPEDA-Amaya, Anabel):

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ZEPEDA stated she illegally crossed the river into the United States to Hidalgo on May 7, 2019.
She was told by a man in the group she crossed with that there was a man who would take her to
Houston, Texas for $3,000. She waited at a Whataburger parking lot in McAllen, Texas when a
vehicle with a man that she was able to identify as the man that was with her when she was
apprehended picked her up and transported her north. She claims she saw the driver, who was
identified as GONZALEZ, but did not see the other passenger. She sat in the back seat and about
ten minutes before arriving to the checkpoint she was told by the driver to get into the trunk. The
driver pulled over and helped her get into the trunk and covered her with a blanket, then they
started to drive. She was let out by a Border Patrol Agent. In a photo line-up she positively
identified GONZALEZ as the driver, and the one who put her in the trunk.

ZEPEDA was re approached in a follow up interview and was asked how many subjects were in
the vehicle she was in and she claimed there were two subjects. She states she did not see the
face of the front seat passenger but it was a female wearing a short sleeve shirt.

DISPOSITION:

The facts of this case were presented to Assistant United States Attorney Cody Barnes who
accepted Sixto GONZALEZ Jr. and Elizabeth Cantu for prosecution of 8 USC 1324, Alien
Smuggling.

" Aubrey Ward
Border Patrol Agent

Submitted ey reliable electronic means, sworn to, signature

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